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by restricted appearance




                                  UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF OREGON

                                       PORTLAND DIVISION



DRY BULK SINGAPORE PTE. LTD,                      Case No. 3:19-cv-01671-BR

                     Plaintiff,                   IN ADMIRALTY

                             v.                   RELEASE BOND

Amis Integrity S.A., in personam and M/V
AMIS INTEGRITY (IMO 9732412) her
engines, freights, apparel, appurtenances,
tackle, etc., in rem,

                     Defendants.



          KNOW ALL PERSONS BY THESE PRESENTS that AMIS INTEGRITY S.A.,

as Principal, and ASPEN AMERICAN INSURANCE COMPANY, as Surety, and any of

their respective successors, assigns, and/or interests, are hereby held and firmly bound unto

the CLERK OF THE COURT for the District of Oregon, for the benefit of DRY BULK


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SINGAPORE PTE. LTD, in the sum of TWO MILLION FIVE-HUNDRED THOUSAND

DOLLARS AND 00/100 CENTS (USD $2,500,000.00), inclusive of interest and costs and

fees, if allowed, for the payment of which said Principal and Surety hereby bind themselves,

their successor and assigns, jointly and severally, by this Bond;

          WHEREAS a Verified Complaint in the United States District Court for the District

of Oregon, by DRY BULK SINGAPORE PTE. LTD as Plaintiff against the M/V AMIS

INTEGRITY (the “Vessel”), in rem, and Amis Integrity, S.A., in personam, Case No. 3:19-

cv-1671-BR, in which DRY BULK SINGAPORE PTE. LTD seeks damages for tortious

interference with contract, conversion, and unjust enrichment, and demanded that the Court

issue process of arrest against the M/V AMIS INTEGRITY, which was arrested accordingly

on October 17, 2019, pursuant to Rule C of the Supplemental Rules for Admiralty or

Maritime Claims, and to obtain the Vessel’s release, AMIS INTEGRITY S.A., as Principal,

and ASPEN AMERICAN INSURANCE COMPANY, as Surety, give this Bond pursuant to

Rule E (5)(a) of the Supplemental Rules for Admiralty or Maritime Claims in exchange for

the release of the Vessel from said arrest thereof by reason of the signing, sealing, and

delivery of these presents and by deposit into the registry of the Court this Release Bond;

          NOW, the condition of this Bond is such that, if AMIS INTEGRITY S.A. and

ASPEN AMERICAN INSURANCE COMPANY abide by all orders of this Court, and remit

to the Plaintiff the amount of any final judgment (after appeal, if any), specifically including

any judgment that may be rendered against the M/V AMIS INTEGRITY in rem, or agreed

upon settlement sum, inclusive of any interest and/or costs and/or fees, rendered, or agreed

upon by the parties, in this matter, then this Bond is immediately rendered null and void, but

shall, at all times otherwise remain in full force and effect. However, in no event shall the

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aggregate liability of the principal and surety exceed the sum of TWO MILLION FIVE-

HUNDRED THOUSAND DOLLARS AND 00/100 CENTS (USD $2,500,000.00).

          It is understood and agreed that the signing of this pleading by LeGros Buchanan &

Paul is in a representative capacity only and shall not be binding upon them, but is binding

upon AMIS INTEGRITY, S.A., as Principal, and ASPEN AMERICAN INSURANCE

COMPANY, as Surety.



DATED this _____ day of October, 2019 at         DATED this _____ day of October, 2019 at
New Orleans, Louisiana                           Seattle, Washington.

ASPEN AMERICAN INSURANCE                         AMIS INTEGRITY, S.A.
COMPANY
                                                 LE GROS, BUCHANAN & PAUL


By: __________________________                   By: s/ Markus B.G. Oberg
Conway C. Marshall                               MARKUS B.G. OBERG, OSB #112187
Attorney-in-Fact
                                                 By: s/ Daniel J. Park
                                                 DANIEL J. PARK, OSB #132493

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                                                 Attorneys for Amis Integrity, S.A., by
                                                 restricted appearance




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                                            CERTIFICATE OF SERVICE

                              I hereby certify that on October 25, 2019, I electronically filed
                     the foregoing with the Clerk of the Court using the CM/ECF system,
                     which will send notification of such filing to The Honorable Anna J.
                     Brown and serve it on all associated counsel.

                            I certify under penalty of perjury under the laws of the State of
                     Washington that the foregoing is true and correct.

                             Signed at Seattle, Washington this 25th day of October, 2019.

                                                s/ Shelley Courter
                                                Shelley Courter, Legal Assistant
                                                LeGros Buchanan & Paul
                                                4025 Delridge Way SW, Suite 500
                                                Seattle, Washington 98106-1271
                                                Telephone:        206-623-4990
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